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                 IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF PUERTO RICO



                                                       CIVIL NO.
 CONCRETE RECYCLING CENTERS OF
 PUERTO    RICO,    LLC;    RONALD
 LEVENTHAL, and COREY J. HOGAN

                     Plaintiffs

                         v.

 CCW    METAL     RECYCLING    LLC;
 EMPRESAS CRC, LLC;, WALLACE COBAN
 AND CLARISA A. LUGO VELEZ

                     Defendants


              RICHARD SARGENT
               Person with Interest



                                  COMPLAINT

TO THE HONORABLE COURT:

      COMES now plaintiffs through the undersigned attorney, and respectfully

alleges and prays:

                     I. NATURE OF ACTION AND JURISDICTION

      1. This is a civil action pursuant to Articles 1230,1233,1234,1536 and 1538 of

         the Puerto Rico Civil Code (2020).

      2. The Jurisdiction of this Court is proper under 28 U.S.C. 1332 since

         plaintiffs Ronald Leventhal is a resident of Orlando, Florida, Corey J.


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   Hogan is resident of Buffalo, New York and Concrete Recycling of Puerto

   Rico is a limited liability company organized in accordance with the laws

   of the state of Florida. Subject matter jurisdiction is proper in this matter

   pursuant to 42 U.S.C. §2000a(b) et seq      and 28 U.S.C. §1331. This

   Court has jurisdiction over the state law claims, infra, pursuant to 28

   U.S.C. §1367 et seq.

3. Defendant CCW Metal Recycling LLC and Empresas CRC LLC are

   corporations organized in accordance with laws of Puerto Rico. Co-

   defendants Wallace Coban and Clarisa A. Lugo Vélez are residents of

   Puerto Rico.

4. Richard Sargent is a resident of Dallas, Texas.

5. The controversy on this claim exceeds the sum $75,000.00.

                           II. THE PARTIES

6. Plaintiff Concrete Recycling Centers of Puerto Rico, LLC is a domestic

   corporation organized in accordance to the laws of Florida.

7. Plaintiff Ronald Leventhal is of legal age and resident of Orlando, Florida.

8. Plaintiff Corey J. Hogan is of legal age and resident of Buffalo, New York.

9. Defendant CCW Metal Recycling, LLC is a corporation organized in

   accordance to the laws of Puerto Rico. Its main address and mailing

   address are 402 Blvd Media Luna, Apt. 1903, Carolina, P.R. 00987, and

   its resident agent is co-defendant Clarissa A. Lugo Velez.

10. Co-defendant Empresas CRC, LLC, is a corporation organized in

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   accordance to the laws of Puerto Rico. Its main address is Bo. Media Luna

   Carr. 165 K.M. 14.9, Toa Baja, P.R. 00949. Its mailing address is 402

   Blvd. Medina Luna Apt. 1903, Veredas del Parque, Carolina, P.R. 00987,

   and its resident agent is co-defendant Clarissa A. Lugo Velez.

11. Defendant Wallace Coban is of legal age and domicile in Toa Baja, Puerto

   Rico.

12. Defendant Clarisa A. Lugo Vélez is of legal age and domicile in Carolina,

   Puerto Rico.

13. Richard Sargent is of legal age and a resident of Dallas, Texas.

14. All corporations have the legal capacity to sue and be sued.

15. John Doe and Richard Roe are fictitious names to identify persons that

   may be found to be liable to plaintiff during the discovery.

16. ABC Insurance Company and DEF Insurance Company are fictitious

   names for insurance companies that may have insured contract with

   defendants.

                           III. THE FACTS

17. On January 15, 2024 plaintiffs, Concrete Recycling Centers of Puerto

   Rico, LLC., Ronald Leventhal, Corey J. Hogan and defendants signed a

   Joint Venture in which it was agreed as follows:

      “3.ECRC is a party to a lease contract with JUSTO CRUZ MORALES
      and ADA IVTETTE SALGADO CALDERON of about 6 acres which is
      approximately 50% of the parcel owned by the lessors. The cadaster
      number for this parcel is 059-050-782-01-000. This lease is effective for
      10 years with an option to renew for an additional years term.”

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18. At averment 8 of the Joint Venture Agreement it is stated as follows:

      “8. If CRCPR renews this Joint Venture Agreement, it will continue
   forward subject to the same terms as provided for herein. All proceeds
   generated by this Joint Venture Agreement whether at the TOA BAJA,
   DORADO site or at PONCE will belong to CRCPR, subject to the following
   payments:
      a. Upon signing this agreement by all parties, and within a period of
      48 hours thereafter, $1500.00 (one thousand five hundred dollars) will
      be paid directly to WALLACE COBAN (hereafter WALLACE) and a
      further $1500.00 (one thousand 500 dollars) will be paid directly to
      CLARISA A. LUGO VELEZ ( hereafter CLARISA). Note: This was
      paid $3,000 on January 12, 2024 plus an additional $5,750 for the
      permit renewal fee.

      b. Beginning after a minimum of twenty (“20”) truckloads of concrete
      and metal are received at the DORADO location and an additional
      minimum twenty (“20”) truckloads per week received at the (upon
      opening) PONCE location, a weekly salary of $1,500.00 (one thousand
      five hundred dollars) will be paid to both WALLACE and CLARISA
      contingent upon them continuing to secure approximately 20
      truckloads per week of concrete and metals at each location, or in a
      combination of 40 truckloads between the two locations. Until
      February 18, 2024, the minimum per location will be increased to
      twenty-five truckloads. Note: In good faith based on representation
      that loads would begin arriving before January 26, 2024, $3,000 was
      paid on January 22, 2024 plus an additional $2,313.63 for the monthly
      rental of a skid steer.

      c. If CCW secures the concrete and metal scrap from a building
      implosion that is expected to realize approximately 75,000 tons or more
      of concrete rubble and a further 55,000 tons of raw steel and this
      concrete and steel are delivered on a regular and consistent basis to
      the CRCPR site in Ponce, then the minimum 25 truckloads per week
      per location will be waived for a period of one (“1”) year.


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19. At averment 10, it is stated as follows:

   “In addition to the provisions set out in section 8, the legal entity CCW
   will receive $1.20 per ton for concrete rubble received at either the
   DORADO or PONCE site and will receive a further $1 per ton for any
   processed concrete sold from either location and paid to CRCPR. These
   funds will be paid ten (“10”) days after the end of each month by CRCPR
   to CCW.

20. At averment 11, it states as follows:

   “All payments received at either location from any and all
   customers and/or vendors will be paid to CRCPR and not to CCW,
   as CCW’S sources of income from either site will be limited to what
   is provided for in this Joint Venture Agreement.”

21. Plaintiff has complied with all its obligations in the Joint Venture

   Agreement and has sent to defendants payments for over $600,000.00

   dollars.

22. Plaintiffs, on the other hand, have not received a single payment as it was

   agreed on averment 11 of the Joint Venture Agreement, cited at averment

   19 of the complaint.

23. Defendants have not informed plaintiff of the income and/or payments

   received by them at the Toa Baja, Dorado or Ponce location nor have they

   informed as to their business transactions.

24. A joint venture is an association of persons with intent, by way of

   contract, express or implied, to engage in and carry out a single business

   adventure for joint profit, for which purpose they combine their efforts,



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           property, money, skill, and knowledge, but without creating a partnership

           in the legal or technical sense of the term, or a corporation, and they agree

           that there shall be a community of interest among them as to the purpose

           of the undertaking.1

        25. The basic elements of a Joint Venture Agreement is an association of two

           or more persons to carry out a single business enterprise in which they

           will share their earnings and the losses as well as the management of

           the enterprise.

        26. In the Joint Venture Agreement it is stated, at averment 3, as follows:

           “3. ECRC is a party to a lease contract with JUSTO CRUZ MORALES and
           ADA IVETTE SALGADO CALDERON of about 6 acres which is
           approximately 50% of the parcel owned by the lessors. The Cadastre
           number for this parcel is 059-050-782-01-000. This lease is effective for 10
           years with an option to renew for an additional five-year term.”

        27. It has come to plaintiff’s knowledge that Justo Cruz Morales and Ada

           Ivette Salgado Calderón have filed a criminal complaint against Clarissa

           Lugo Velez and/or Wallace Coban in which they allege that in the lease

           contract defendants falsify their signature (complaint number 2024: 7-

           171:001603). If this allegation is true, the lease contract will be null and

           void.

        28. All this has caused plaintiff damages pursuant to Article 1536 of the Civil

           Code of Puerto Rico, damages that are reasonably estimated in an amount

           no less than $5,000,000.00
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    Sheppard v. Carey, 254 A.2d 260 (1969).

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29. If in fact Justo Cruz Morales and Ada Ivette Salgado Calderon signature

   were falsified, being this a crime, an additional indemnification should be

   imposed, pursuant to Article 1538 of the Civil Code of Puerto Rico.

30. The breach of the Joint Venture Agreement by defendants and their

   failure to comply with their obligations grants plaintiff the right to

   request the cancellation of the Joint Venture Agreement.

31. Plaintiffs request that defendants be ordered to return all the payments

   made to them by plaintiffs.

32. At the Joint Venture Agreement, it is stated at averment 2, that CCW is a

   Puerto Rican Limited Liability Company owned 50% by Richard Sargent,

   25% by Wallace Coban and 25% by Clarisa A. Lugo-Vélez. As far as is of

   plaintiff’s knowledge, Defendants have not informed Richard Sargent of

   the business that they are doing in Puerto Rico through CCW Metal

   Recycling LLC. Richard Sargent has not been involved in the business and

   administration of CCW. For this he is included in the complaint as a

   person with interest.

                           FIRST CAUSE OF ACTION

33. Now appears plaintiff, in this case and repeat, reiterate and reallege each

   and every allegation contained in the preceding paragraphs, with the

   same force and effect as if set forth at length herein. Richard Sargent is

   domicile in the state of North Dakota.

34. That the Joint Venture Agreement signed by plaintiffs and defendants be

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   declared nulled and void.

                        SECOND CAUSE OF ACTION

35. Now appears plaintiff, in this case and repeat, reiterate and reallege each

   and every allegation contained in the preceding paragraphs, with the

   same force and effect as if set forth at length herein.

36. That defendant’s be ordered to return to plaintiff all the payments that

   they have received from plaintiffs which are estimated to be over

   $600,000.00.

                          THIRD CAUSE OF ACTION

37. Now appears plaintiff, in this case and repeat, reiterate and re-allege each

   and every allegation contained in the preceding paragraphs, with the

   same force and effect as if set forth at length herein.

38. That the breach of contract by defendants have caused damages to

   plaintiff in accordance to Article 1536 of the Civil Code of Puerto Rico,

   damages that are reasonably estimated in $5,000,000.00.


                        FOURTH CAUSE OF ACTION

39. Now appears plaintiff, in this case and repeat, reiterate and re-allege each

   and every allegation contained in the preceding paragraphs, with the

   same force and effect as if set forth at length herein.

40. That because the falsification of Mr. Justo Cruz Morales and Ada Ivette

   Salgado Calderón in the lease agreement with co-defendant Empresas


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     CRC LLC, constitute a crime and an additional indemnification should be

     impose against defendants and in favor plaintiff in accordance to Article

     1538 of the Civil Code of Puerto Rico.



                            FIFTH CAUSE OF ACTION

41. Now appears plaintiff, in this case and repeat, reiterate and re-allege each

     and every allegation contained in the preceding paragraphs, with the

     same force and effect as if set forth at length herein.

42. - Defendants acts show that they did not act in good faith, this constitutes

     and intentional, malicious and reckless indifference and punitive damages

     should be imposed on defendants jointly and separately for an amount in

     $5,000,000.00

                            TRIAL BY JURY

43. A Trial by Jury is requested in all causes of actions.

WHEREFORE, plaintiff respectfully prays this Honorable Court to:

a. Assume Jurisdiction of this action;

b Order defendants to return to plaintiff all the amounts that plaintiff have

     sent to defendants.

c.    Grant Plaintiff compensatory damages in an amount in excess of

     $5,000,000.00.

d.   Grant plaintiff punitive damages against the defendants, and each of

     them, jointly and severely; in an amount of $5,000,000.00.

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e. Grant plaintiff an additional indemnification in accordance with Article

      1538 of the Civil Code of Puerto Rico in an amount that is reasonably

      estimated in $5,000,000.00.

 e.    An award of reasonable attorney’s fees, together with costs, litigation

       expenses, and necessary disbursement.

 f.    Any other remedies which this Honorable Court may deem just and

       proper.

 RESPECTFULLY SUBMITTED.

 In Aguadilla, Puerto Rico this 16th day of December of 2024.

                                              S/Israel Roldan-Gonzalez
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